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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 ADAM REED,

        Plaintiff,
                                                       Case No. 1:16-cv-572
 v.
                                                       HONORABLE PAUL L. MALONEY
 COMMISSIONER OF SOCIAL SECURITY,

       Defendant.
 ______________________________________/


               ORDER ADOPTING REPORT AND RECOMMENDATION

       Plaintiff seeks an award of attorney fees pursuant to 42 U.S.C. § 406(b). The matter was

referred to the Magistrate Judge, who issued a Report and Recommendation on October 30, 2018.

The Report and Recommendation was duly served on the parties. No objections have been filed.

See 28 U.S.C. § 636(b)(1). Therefore,

       IT IS HEREBY ORDERED that the Report and Recommendation of the Magistrate

Judge (ECF No. 24) is APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that Plaintiff’s motion (ECF No. 21) is GRANTED.

       IT IS FURTHER ORDERED that Plaintiff’ counsel shall REFUND to Plaintiff the

previously awarded EAJA fee in the amount of $3,237.50.



Dated: November 26, 2018                                   /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
